
25 So. 3d 646 (2010)
Ramon HERRERA, Appellant,
v.
STATE of Florida, Appellee.
No. 4D08-2499.
District Court of Appeal of Florida, Fourth District.
January 6, 2010.
Regina Tsombanakis, Fort Lauderdale, for appellant.
Bill McCollum, Attorney General, Tallahassee, and Mark J. Hamel, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
We affirm appellant's conviction and sentence, concluding that the trial court did not err in denying appellant's motion to withdraw his plea. Appellant also argues that the court erred in denying his motion to mitigate sentence as untimely. While we affirm, our affirmance is without prejudice to appellant moving to mitigate within sixty days of the mandate, as provided in Florida Rule of Criminal Procedure 3.800(c).
GROSS, C.J., WARNER and LEVINE, JJ., concur.
